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                        IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION

IN RE:                                               §
                                                     §
AGAP LIFE OFFERINGS, LLC1,                           §       CASE NO. 16-40520-btr
                                                     §
        Debtors.                                     §       (Jointly Administered Under
                                                     §       Case No. 16-40520-btr)

                   DEBTORS’ APPLICATION FOR ORDER AUTHORIZING
                      THE EMPLOYMENT OF BILL SHORT, CPA AS
                          CHIEF RESTRUCTURING OFFICER

        NO HEARING WILL BE CONDUCTED ON THIS APPLICATION
        UNLESS A WRITTEN OBJECTION IS FILED WITH THE CLERK OF
        THE UNITED STATES BANKRUPTCY COURT AND SERVED UPON
        THE PARTY FILING THIS PLEADING WITHIN FOURTEEN (14) DAYS
        FROM THE DATE OF SERVICE UNLESS THE COURT SHORTENS OR
        EXTENDS THE TIME FOR FILING SUCH OBJECTION. IF NO
        OBJECTION IS TIMELY SERVED AND FILED, THIS APPLICATION
        SHALL BE DEEMED TO BE UNOPPOSED, AND THE COURT MAY
        ENTER AN ORDER GRANTING THE RELIEF SOUGHT. IF AN
        OBJECTION IS FILED AND SERVED IN A TIMELY MANNER, THE
        COURT WILL THEREAFTER SET A HEARING UNLESS IT
        DETERMINES THAT AN EVIDENTIARY HEARING IS NOT REQUIRED
        AND THAT THE COURT'S DECISION WOULD NOT BE
        SIGNIFICANTLY AIDED BY ORAL ARGUMENT. IF YOU FAIL TO
        APPEAR AT ANY SCHEDULED HEARING, YOUR OBJECTION MAY BE
        STRICKEN. THE COURT RESERVES THE RIGHT TO SET A HEARING
        ON ANY MATTER.

1
 The jointly administered cases include AGAP Life Offerings, LLC, Case No. 16-40520-btr; AGAP LS 309, LLC,
Case No. 16-40521-btr; AGAP LS 108, LLC, Case No. 16-40529-btr; AGAP LS 109, LLC, Case No. 16-40530-btr;
AGAP LS 209, LLC, Case No. 16-40531-btr; and AGAP LS 509, LLC, Case No. 16-40532-btr.

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TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:

        COME NOW, AGAP Life Offerings, LLC, AGAP LS 309, LLC, AGAP LS 108, LLC,

AGAP LS 109, LLC, AGAP LS 209, LLC and AGAP LS 509, LLC (“Debtors”), the Debtors and

Debtors-in-Possession in the above-styled and numbered case, and file this their application for

entry of an order authorizing the employment of Bill Short, CPA as chief restructuring officer and

financial consultant (“CRO”) for the Debtors as of July 11, 2016, and in support of same would

respectfully show the Court as follows:

                                        I.      JURISDICTION

        1.      This Court has jurisdiction to consider this matter pursuant to 28 U.S.C. § 1334.

Consideration of this action is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue is proper

before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                             II.      PROCEDURAL BACKGROUND

        2.      Debtors AGAP Life Offerings, LLC and AGAP LS 309, LLC filed their voluntary

petitions under Chapter 11, Title 11, of the United States Bankruptcy Code on March 24, 2016, in

the United States Bankruptcy Court for the Eastern District of Texas, Sherman Division. Debtors

AGAP LS 108, LLC, AGAP LS 109, LLC, AGAP LS 209, LLC and AGAP LS 509, LLC filed

their voluntary petitions under Chapter 11, Title 11, of the United States Bankruptcy Code on

March 25, 2016, in the United States Bankruptcy Court for the Eastern District of Texas, Sherman

Division.

        3.      The Debtors own life insurance policies.       No trustee, examiner, or official

committee has been appointed in the Bankruptcy Case. A motion to appoint a trustee is currently

pending.




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        4.      As a result of the interest being expressed by certain creditors of the Debtors and

the Office of the U.S. Trustee that a neutral third party be retained in these cases, the Debtors

through the assistance of the ad hoc committees formed in each of the cases, has researched and

selected Mr. Short to step in as CRO. The Debtors believe that this is a far better result than the

appointment of a Trustee in these cases and will facilitate the goals of the creditors, will assist in

operations and the formulation of a Plan and will save money for the estates as the fees to be

charged by Mr. Short are reasonable and subject to Court approval.

                 III.    BASIS FOR RETENTION OF BILL SHORT AS CRO

        5.      In support of this Application, the Debtor relies upon the Declaration of Bill Short

(the “Declaration”), attached hereto as Exhibit “A” and incorporated as if fully set forth herein.

Attached to the Declaration is the proposed Engagement Agreement and Resume for Mr. Short.

        6.      Subject to the approval of this Court, the Debtors seek to employ Bill Short as CRO,

under the terms set forth in this Application.

        7.      Mr. Short provides financial consulting services to businesses.

        8.      The Debtors anticipate that Bill Short may render, without limitation, the following

accounting and financial advisory services in the Bankruptcy Case:

                Bill Short may provide the financial advisory services as CRO (the “Services”) to

the Company, which include:

                   Preparation of amendments to schedules and the statement of financial affairs
                    and monthly operating reports to support the Chapter 11 case administration;
                   Review and assess cash flow forecasting and projection processes, and the
                    monitoring of actual cash flow versus projections;
                   Prepare updated cash flow projections as needed to be filed with the court;
                   Assist in preparing and assembling information for exhibits to motions for relief
                    that may be filed with the court;
                   Provide testimony in bankruptcy court hearings as required;
                   Administer post-petition banking facilities;

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                   Review ongoing strategic initiatives and assess financial and liquidity impact;
                   Negotiate/Communicate with lenders, creditors and stakeholders during the
                    bankruptcy proceeding;
                   Coordinate sales of assets, as may be required;
                   Direct operations with management including oversight and approval of
                    disbursements, and approval of all contracts and administrative services;
                   Preparation of periodic progress reports and review financial results with
                    stakeholders and lenders;
                   Engage personnel and professionals as may be required for orderly
                    administration of bankruptcy case and the Company; and
                   Such other duties as mutually agreed upon or otherwise approved by the Court.

                For purposes of performing the Services, the CRO shall be given full and complete

access to the Debtor’s premises, books, records, and computer systems, and the CRO will take

steps where he deems necessary to document and establish procedures and routines in order to

assure uninterrupted and accurate reporting to stakeholders. Additionally, the CRO expects to get

assistance from Jeffrey and Charles Madden, the Managers of AGAP in the performance of his

services as CRO.

                The proposed engagement agreement is attached to the Declaration of Mr. Short

and incorporated herein by this reference as if set forth in full for all purposes.

        9.      Subject to this Court’s approval of the Application, Mr. Short is willing to serve as

CRO for the Debtors and to perform the services described herein.

        10.     Mr. Short has the necessary financial background to deal effectively with many of

the needs that may arise in the context of the Debtors’ reorganization. Given Mr. Short’s

background and experience, the Debtors believe that this individual and his firm are well-qualified

and uniquely able to provide services to it in this Bankruptcy Case in the most efficient and timely

manner.

        11.     Mr. Short will maintain detailed, contemporaneous records of time and any actual

and necessary expenses incurred in connection with the rendering of his services and related

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services for the Debtors by company as described in the Engagement Agreement attached to the

Declaration and pursuant to the applicable guidelines of the Court.

        12.     Mr. Short was not employed pre-petition by the Debtors and therefore does not

have a pre-petition balance due from the Debtors.

        13.     The compensation to be paid to Mr. Short shall be as follows:

                Bill Short               $175.00 per hour

A retainer of $5,000.00 will be payable upon approval of this Application by the Bankruptcy Court

and will be applied to billings for services provided under the Engagement Agreement and as

approved by the Bankruptcy Court.

        14.     To the best of the Debtors’ knowledge, Mr. Short does not have any connection

with, or any interest adverse to, the Debtors, the Debtors’ estates, the Debtors’ significant creditors,

or other party-in-interest as set forth in the Declaration. The Debtors further believes that Bill

Short is a “disinterested person,” as such term is defined in section 101(14) of the Bankruptcy

Code (as modified by section 1107(b) of the Bankruptcy Code) and as required under section

327(a) of the Bankruptcy Code.

        15.     Bill Short intends to apply to this Court for allowance on an interim and final basis

of compensation for services rendered and reimbursement of expenses in accordance with the

applicable provisions of the Bankruptcy Code, the Bankruptcy Rules, the Local Bankruptcy Rules,

and any applicable orders of the Court.

                                IV.      AUTHORITY FOR RELIEF

        16.     The Bankruptcy Code authorizes a debtor-in-possession, with the Court’s approval,

to “employ one or more attorneys, accountants, appraisers, auctioneers or other professional

persons, that do not hold or represent an interest adverse to the estate, and that are disinterested


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persons, to represent or assist the trustee in carrying out the trustee’s duties under this title.”

11 U.S.C § 327(a). As supported by the Declaration, the Debtors believe Bill Short is appropriate

to serve as the Debtors’ CRO under section 327(a).

        17.     Furthermore, section 328(a) of the Bankruptcy Code provides that a debtor “with

the court’s approval, may employ or authorize the employment of a professional person under

section 327 . . . on any reasonable terms and conditions of employment, including on a retainer,

on an hourly basis, or on a contingent fee basis.” 11 U.S.C § 328(a). The Debtors believe that

Mr. Short’s rates are reasonable and comparable to the rates that would be charged by other

financial firms providing the same services in the Eastern District of Texas.

                                            V.      PRAYER

        WHEREFORE, PREMISES CONSIDERED, the Debtors respectfully request entry of an

order (i) approving the Debtors’ retention of Bill Short to serve as CRO for the Debtors pursuant

to sections 327(a) and 328(a) of the Bankruptcy Code, and (ii) granting the Debtors such other and

further relief as is just and proper.

        Dated: July 11, 2016.

                                                            Respectfully submitted,

                                                              /s/ Joyce W. Lindauer
                                                            Joyce W. Lindauer
                                                            State Bar No. 21555700
                                                            Sarah Cox
                                                            California State Bar No. 245475
                                                            Jamie Kirk
                                                            State Bar No. 24076485
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                                                            ATTORNEYS FOR DEBTORS


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                                   CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on July 11, 2016, a true and correct copy of the
foregoing Application has been served via United States first class mail, postage prepaid, to all
parties on the attached mailing matrix.

                                                              /s/ Joyce W. Lindauer
                                                            Joyce W. Lindauer




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                                                  EXHIBIT "A"
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Bill Short
Partner, SeatonHill

Bill provides financial and operational leadership to companies in the role as interim or fractional CFO.
He has over thirty-five years of experience in finance, accounting, and operational management in
public and private companies across multiple industries, with an emphasis for several years in the
upstream and midstream segments of the energy industry. In addition to energy, he has significant
industry experience in manufacturing, distribution, waste management, and public accounting. Bill has
directed financial operations for companies with diversified operations, including those in high growth
and in stressed, turnaround situations. He has been heavily involved in multiple situations involving
financial restatements, M&A transactions, financings, systems and controls clean-up and
implementation, forensic accounting and litigation support. He has served as court-appointed trustee in
multiple Ch. 11 cases.

                                 ________________________________

Bill has provided interim and fractional CFO services since 1998 while with CFO advisory firms, including
Tatum, Blackbriar and now SeatonHill. Companies have included small and mid-cap companies, public
and private, and in multiple industries, and for the last 10 years with a focus in the energy sector.
Especially during this recent period, he has worked with companies for improvements in financials,
processes and operations in preparation for sale, capitalization or re-cap. He has also assisted
companies in obtaining capital for exploration and production. He led a team of professionals in
financial restatements covering five years for an international E&P company exploring in South Texas.

Bill served as a partner from 1998 to 2010 in the executive financial services practice of Tatum, LLC, a
national organization of senior financial executives providing strategic financial services targeted to
small and mid-cap companies, emerging growth companies and companies in transition. Significant
engagements included serving as CAO for PostRock Energy, a distressed publicly-traded E&P company;
serving as EVP-Finance for FTS Int’l during a high growth period where he was instrumental in
completing a $250 million debt facility with a syndicate of banks, team-lead for implementing systems
and people for financial controls and improved financial reporting, and orchestrated a state tax strategy
that resulting in refunds of $15mil+ and ongoing savings of even larger amounts.

As a Tatum Partner, Bill served in numerous executive positions providing strategic business and
operational leadership, debt and equity financing, mergers and acquisitions, due diligence and
integration, SEC reporting and compliance, managing lender and shareholder relationships, tax
compliance and litigation support. He has extensive turnaround management experience, troubled debt
restructuring, and held court-appointed fiduciary positions in multiple bankruptcy cases.

Prior to joining Tatum, Bill provided consulting and management services principally to companies in the
oil and gas, manufacturing, and solid waste management industries. His responsibilities in these
engagements included financial reporting, SEC filings, acquisition due diligence and accounting, tax
accounting and business planning. He also provided advisory and business planning services to National
Oilwell (now Varco) and Dover Industries related to the acquisition of an oilfield equipment company
located in South America.




                                                                        EXHIBIT "2"
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He served as Vice President, Treasurer and CFO of National Energy Group, Inc., a publicly-traded oil and
gas company growing through mergers and acquisitions. While at National Energy Bill was instrumental
in the completion of two significant acquisitions, successfully integrated the operations of the acquired
enterprises, lead the implementation of all new accounting, control systems and SEC reporting following
a reverse merger transaction. Previously, he provided advisory services for the financial restructuring of
a publicly traded gas transportation and processing company, Cornerstone Natural Gas.

Prior to his tenure at National Energy, Bill served as CFO of Commonwealth Resources, a Dallas based
private oil and gas business; and as Controller and Treasurer for Comstock Resources, Inc. Mr. Short had
principal accounting and reporting responsibility at Comstock during a rapid growth period, including a
successful SEC ’33 Act registration statement following a merger, numerous acquisition transactions,
and a financial restatement.

Prior to Comstock, Bill was the managing partner in a consulting and accounting firm in Midland, Texas,
a firm he founded and later sold upon moving to Dallas. Over a period of 6 years previous, he served in
controller and treasurer positions for oilfield service subsidiaries of large U.S. public companies located
in Texas’ Permian Basin.

Education and Certifications
        • Bachelor of Business Administration in Accounting, University of Central Arkansas
        • Certified Public Accountant – State of Texas
        • Completed requirements as a Certified Turnaround Professional
Affiliations and Memberships
        • American Institute of Certified Public Accountants
        • Turnaround Management Association
        • Petroleum Engineers Club of Dallas
Contact Information:
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